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*PROB 35 Report and Order Terminating Probation/Supervised Release
(Rev. 5/01) Prior to Original Expiration Date

UNITED STATES DISTRICT COGRT
FOR THE Xr “Ny BG Ny

Eastern District of New York , Sig
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UNITED STATES OF AMERICA

v. Crim. No. 90-CR-446

Salvatore Avellino

On July 29, 1994 the above named was placed on probation/supervised release for a pefiod of

21 ___ years. The probationer/supervised releasee has complied with the rules and regulations of probation/supervised
release and is no longer in need of supervision. It is accordingly recommended that the probationer/supervised releasee be

discharged from supervision.

Respectfully submitted,

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Edward Kanaley, Senior U.S. Probation Officer

ORDER OF COURT
Pursuant to the above report, it is ordered that the probationer/supervised releasee be discharged from supervision

and that the proceedings in the case be terminated.

Dated this > day of A G, Eker ber Z , 20 hk .

United States! District Judge
